           Case 1:07-cr-00411-JB-C                     Doc# 97          Filed 04/01/15             Page 1 of 1               PageID# 393
$2 5HY $/6'2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F      3DJHRI 3DJH1RWIRU3XEOLF'LVFORVXUH


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                                                                        IRUWKH
                                                       Southern District of Alabama
                                                      BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                          BRIAN PERRY                                           &DVH1R       07-00411-001
                                                                                8601R 10100-003
'DWHRI2ULJLQDO-XGJPHQW                            06-10-2008
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Arthur Madden
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI 128                 PRQWKVis reduced to 120 months                           

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                          06-10-2008          VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED                                                                                               Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                   Callie V.S. Granade U.S.                     DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                                Government, ou=Federal Judiciary,
2UGHU'DWH                  04-01-2015                            District Judge                               email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                                Date: 2015.04.01 13:13:13 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH              11-01-2015                                                      United States District Judge
                     (if different from order date)                                                Printed name and title
